                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF IOWA
                            EASTERN DIVISION



 UNITED STATES OF AMERICA,
              Plaintiff,                                No. CR02-2008-LRR
                                                        No. C05-2008-LRR
 vs.
                                                              ORDER
 KIRK BENNETT,
              Defendant.

                           ____________________________


       This matter comes before the court on the defendant’s motion to vacate, set aside
or correct his sentence (Docket No. 122). The defendant filed his motion pursuant to 28
U.S.C. § 2255.1 Also before the court is the defendant’s application for appointment of
counsel (Docket No. 121). For the following reasons, the defendant’s 28 U.S.C. § 2255




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        If a prisoner is in custody pursuant to a sentence imposed by a federal court and
such prisoner claims “that the sentence was imposed in violation of the Constitution or
laws of the United States, or that the court was without jurisdiction to impose such
sentence, or that the sentence was in excess of the maximum authorized by law, or is
otherwise subject to collateral attack, [the prisoner] may move the court which imposed
the sentence to vacate, set aside or correct the sentence.” 28 U.S.C. § 2255. See also
Daniels v. United States, 532 U.S. 374, 377, 121 S. Ct. 1578, 149 L. Ed. 2d 590 (2001).


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motion and application for appointment of counsel shall be denied.2           In addition, a
certificate of appealability shall be denied.
                                   I. BACKGROUND
       On February 22, 2002, the grand jury returned and the government filed a seven-
count indictment which charged the defendant with four violations. Count one charged that
the defendant did knowingly and unlawfully combine, conspire, confederate, and agree
with other defendants and other persons, known and unknown to the grand jury, to (1)
distribute, possess with intent to distribute, and manufacture 50 grams or more of actual
(pure) methamphetamine, a Schedule II controlled substance, and (2) possess
pseudoephedrine and or ephedrine pills, a List I chemical knowing, intending and having
reasonable cause to believe that it would be used to manufacture methamphetamine.3
Count three, count five and count seven charged that the defendant and others did
knowingly and intentionally possess ephedrine pills, a List I chemical, knowing, intending
and having reasonable cause to believe that the ephedrine would be used to manufacture


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          No response from the government is required because the motion and file make
clear that the defendant is not entitled to relief. See 28 U.S.C. § 2255; Rule 4(b), Rules
Governing Section 2255 Proceedings. Similarly, an evidentiary hearing is not necessary.
See id. See also Engelen v. United States, 68 F.3d 238, 240-41 (8th Cir. 1995) (stating
district court may summarily dismiss a motion brought under 28 U.S.C. § 2255 without
an evidentiary hearing “if (1) the . . . allegations, accepted as true, would not entitle the
[movant] to relief, or (2) the allegations cannot be accepted as true because they are
contradicted by the record, inherently incredible, or conclusions rather than statements of
fact”); United States v. Oldham, 787 F.2d 454, 457 (8th Cir. 1986) (stating district court
is given discretion in determining whether to hold an evidentiary hearing on a motion
under 28 U.S.C. § 2255).
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        The conduct charged in count one of the indictment is in violation of 21 U.S.C.
§ 841(a)(1) and 21 U.S.C. § 841(b)(1)(A), 21 U.S.C. § 841(c)(2) and 21 U.S.C. § 846.


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methamphetamine, a Schedule II controlled substance.4 On June 26, 2002, the defendant
appeared before Chief Magistrate Judge John A. Jarvey for his change of plea hearing.
At such hearing, the defendant pleaded guilty to count three, count five and count seven
of the indictment. After the change of plea hearing, Chief Magistrate Judge John A.
Jarvey entered a report and recommendation that a United States District Court Judge
accept the defendant’s plea of guilty. On July 12, 2002, the court entered an order
adopting the report and recommendation pertaining to the defendant’s guilty plea. On
December 17, 2002, the court sentenced the defendant to 100 months imprisonment (100
months on each count and terms to run concurrently) and 3 years supervised release (3
years on each count and terms to run concurrently). On the same day, judgment entered
against the defendant. On December 24, 2002, the defendant filed a notice of appeal. On
January 31, 2003, the Eighth Circuit Court of Appeals dismissed the defendant’s appeal.
       On October 8, 2004, the defendant filed an application for appointment of counsel.
In such application, the defendant makes clear that he would like counsel to be appointed
because of the Supreme Court’s decision in Blakely v. Washington, 542 U.S. 296, 124 S.
Ct. 2531, 159 L. Ed. 2d 403 (2004). On January 14, 2005, the defendant submitted a
“petition to be resentenced in light of Blakely v. Washington.” When it filed such petition,
the Clerk of Court designated the defendant’s petition as a motion pursuant to 28 U.S.C.
§ 2255. On February 2, 2005, the defendant filed a supplement to his January 14, 2005
petition. In such supplement, the defendant stated:
              I recently filed a motion to vacate under 28 U.S.C. § 2255. I
              realize I made a mistake by referring to the Blakely case when
              in fact what I am referring to is I was unjustly sentenced under


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         The conduct charged in count three, count five and count seven of the indictment
is in violation of 21 U.S.C. § 841(c)(2).

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              Booker v. U.S. I was enhanced for relevant conduct and
              overstated criminal history.
       The court now turns to consider the defendant’s motion pursuant to 28 U.S.C. §
2255 and application for appointment of counsel.
                                     II. ANALYSIS
         A. Standards Applicable to Motion Pursuant to 28 U.S.C. § 2255
       28 U.S.C. § 2255 allows a prisoner in custody under sentence of a federal court to
move the sentencing court to vacate, set aside or correct a sentence. To obtain relief
pursuant to 28 U.S.C. § 2255, a federal prisoner must establish: (1) the sentence was
imposed in violation of the Constitution or laws of the United States; (2) the court was
without jurisdiction to impose such sentence; (3) the sentence was in excess of the
maximum authorized by law; or (4) the sentence is otherwise subject to collateral attack.
See Hill v. United States, 368 U.S. 424, 426-27, 82 S. Ct. 468, 7 L. Ed. 2d 417 (1962)
(citing 28 U.S.C. § 2255).
       Although it appears to be broad, 28 U.S.C. § 2255 does not provide a remedy for
“all claimed errors in conviction and sentencing.” United States v. Addonizio, 442 U.S.
178, 185, 99 S. Ct. 2235, 60 L. Ed. 2d 805 (1979). Rather, 28 U.S.C. § 2255 is intended
to redress only “fundamental defect[s] which inherently [result] in a complete miscarriage
of justice” and “omission[s] inconsistent with the rudimentary demands of fair procedure.”
Hill, 368 U.S. at 428. See also United States v. Apfel, 97 F.3d 1074, 1076 (8th Cir.
1996) (“Relief under 28 U.S.C. § 2255 is reserved for transgressions of constitutional
rights and for a narrow range of injuries that could not have been raised for the first time
on direct appeal and, if uncorrected, would result in a complete miscarriage of justice.”)
(citing Poor Thunder v. United States, 810 F.2d 817, 821 (8th Cir. 1987)). A collateral
challenge under 28 U.S.C. § 2255 is not interchangeable or substitutable for a direct


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appeal. See United States v. Frady, 456 U.S. 152, 165, 102 S. Ct. 1584, 71 L. Ed. 2d
816 (1982) (making clear a motion pursuant to 28 U.S.C. § 2255 will not be allowed to
do service for an appeal). Consequently, “[a]n error that may justify reversal on direct
appeal will not necessarily support a collateral attack on a final judgment.” Id. (internal
quotation marks and citation omitted).
       In addition, defendants ordinarily are precluded from asserting claims they failed
to raise on direct appeal. See McNeal v. United States, 249 F.3d 747, 749 (8th Cir.
2001). “A defendant who has procedurally defaulted a claim by failing to raise it on direct
review may raise the claim in a [28 U.S.C. §] 2255 proceeding only by demonstrating
cause for the default and prejudice or actual innocence.” Id. (citing Bousley v. United
States, 523 U.S. 614, 622, 118 S. Ct. 1604, 140 L. Ed. 2d 828 (1998)). See also Massaro
v. United States, 538 U.S. 500, 504, 123 S. Ct. 1690, 155 L. Ed. 2d 714 (2003) (“[T]he
general rule [is] that claims not raised on direct appeal may not be raised on collateral
review unless the [defendant] shows cause and prejudice.”). “‘[C]ause’ under the cause
and prejudice test must be something external to the [defendant], something that cannot be
fairly attributed to him.” Coleman v. Thompson, 501 U.S. 722, 753, 111 S. Ct. 2546,
115 L. Ed. 2d 640 (1991) (emphasis in original). If a defendant fails to show cause, a
court need not consider whether actual prejudice exists. McCleskey v. Zant, 499 U.S.
467, 501, 111 S. Ct. 1454, 113 L. Ed. 2d 517 (1991). Actual innocence under the actual
innocence test “means factual innocence, not mere legal insufficiency.” Bousley, 523 U.S.
at 623-24.    See also McNeal, 249 F.3d at 749 (“[A] defendant must show factual
innocence, not simply legal insufficiency of evidence to support a conviction.”).5


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        The procedural default rule applies to a conviction obtained through trial or
through the entry of a guilty plea. See United States v. Cain, 134 F.3d 1345, 1352 (8th
                                                                          (continued...)

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                B. Timeliness Under the AEDPA and 28 U.S.C. § 2255.
       The AEDPA contains a one year period of limitation during which a 28 U.S.C. §
2255 motion must be filed.6 The statute of limitations begins to run from the latest of four
circumstances. The first of these circumstances is the date on which the judgment of
conviction became final. Here, the defendant’s conviction became “final” on May 1,
2003–the last day he could have timely filed a petition for a writ of certiorari. See Clay
v. United States, 537 U.S. 522, 527, 123 S. Ct. 1072, 155 L. Ed. 2d 88 (2003) (“Finality
attaches when [the United States Supreme Court] affirms a conviction on the merits on



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       (...continued)
Cir. 1998); Walker v. United States, 115 F.3d 603, 605 (8th Cir. 1997); Matthews v.
United States, 114 F.3d 112, 113 (8th Cir. 1997); Thomas v. United States, 112 F.3d 365,
366 (8th Cir. 1997); Reid v. United States, 976 F.2d 446, 448 (8th Cir. 1992).
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           A 1-year period of limitation shall apply to a motion under this section.
                The limitation period shall run from the latest of–
                (1) the date on which the judgment of conviction becomes
                final;
                (2) the date on which the impediment to making a motion
                created by governmental action in violation of the Constitution
                or laws of the United States is removed, if the movant was
                prevented from making a motion by such governmental action;
                (3) the date on which the right asserted was initially recognized
                by the Supreme Court, if that right has been newly recognized
                by the Supreme Court and made retroactively applicable to
                cases on collateral review; or
                (4) the date on which the facts supporting the claim or claims
                presented could have been discovered through the exercise of
                due diligence.
28 U.S.C. § 2255.

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direct review or denies a petition for a writ of certiorari, or when the time for filing a
certiorari petition expires.”). The defendant did not file his 28 U.S.C. § 2255 motion until
January 14, 2005, which is well beyond the last day it properly could have been filed.
       Further, the defendant’s situation does not fall under any of the remaining three
timeliness provisions set forth in 28 U.S.C. § 2255. Given United States v. Booker, ___
U.S. ___, 125 S. Ct. 738, 160 L. Ed. 2d 621 (2005), the only timeliness provision that
might be available to the defendant is the third timeliness provision, that is, the one where
a “right asserted was initially recognized by the Supreme Court, if that right has been
newly recognized by the Supreme Court and made retroactively applicable to cases on
collateral review.” 28 U.S.C. § 2255. Nonetheless, on July 7, 2005, the Eighth Circuit
Court of Appeals determined “the ‘new rule’ announced in Booker does not apply to
criminal convictions that became final before the rule was announced, and thus does not
benefit movants in collateral proceedings.” Never Misses A Shot v. United States, 413
F.3d 781, ___ (8th Cir. 2005). Consequently, any reliance on United States v. Booker,
___ U.S. ___, 125 S. Ct. 738, 160 L. Ed. 2d 621 (2005), is unavailing for purposes of
filing under the third timeliness provision which is contained in 28 U.S.C. § 2255.
       The 1-year period of limitation for filing a 28 U.S.C. § 2255 motion is a statute of
limitation, not a jurisdictional bar, and, thus, subject to equitable tolling. Moore v. United
States, 173 F.3d 1131, 1134 (8th Cir. 1999). However, equitable tolling only applies
when “extraordinary circumstances beyond a prisoner’s control make it impossible to file
a petition on time.” Paige v. United States, 171 F.3d 559, 561 (8th Cir. 1999). See also
Kreutzer v. Bowersox, 231 F.3d 460, 463 (8th Cir. 2000) (addressing 28 U.S.C. §2254
petition) (stating a defendant’s unfamiliarity with federal law is not a ground for equitable
tolling). The defendant does not offer any valid excuse for failing to timely file his 28



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U.S.C. § 2255 motion. Therefore, the court finds the defendant’s situation does not fall
within the limitation period allowed by 28 U.S.C. § 2255.
       In sum, the claim the defendant asserts could have been asserted before a judgment
of conviction was entered, on direct appeal or in a timely 28 U.S.C. § 2255 motion.
“‘The one year period provided [the defendant] with reasonable opportunity to file for
relief; and if that time period has expired, it is the result of [the defendant’s] own doing
and not due to any inadequacy in the statute.’” United States v. Lurie, 207 F.3d 1075,
1078 (8th Cir. 2000) (quoting Charles v. Chandler, 180 F.3d 753, 755 (6th Cir. 1999)).
Although this is a harsh rule, it is the law. Accordingly, the defendant’s 28 U.S.C. § 2255
motion shall be denied.
                      C. Application for Appointment of Counsel
       Having determined that it is appropriate to deny the defendant’s 28 U.S.C. § 2255
motion, the court shall deny as moot the defendant’s application for appointment of
counsel.
                             D. Certificate of Appealability
       In a 28 U.S.C. § 2255 proceeding before a district judge, the final order shall be
subject to review, on appeal, by the court of appeals for the circuit in which the proceeding
is held. See 28 U.S.C. § 2253(a). Unless a circuit justice or judge issues a certificate of
appealability, an appeal may not be taken to the court of appeals. See 28 U.S.C. §
2253(c)(1)(A). A district court possesses the authority to issue certificates of appealability
under 28 U.S.C. § 2253(c) and Fed. R. App. P. 22(b). See Tiedeman v. Benson, 122
F.3d 518, 522 (8th Cir. 1997).         Under 28 U.S.C. § 2253(c)(2), a certificate of
appealability may issue only if a defendant has made a substantial showing of the denial
of a constitutional right. See Miller-El v. Cockrell, 537 U.S. 322, 335-36, 123 S. Ct.
1029, 1039, 154 L. Ed. 2d 931 (2003); Garrett v. United States, 211 F.3d 1075, 1076-77

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(8th Cir. 2000); Carter v. Hopkins, 151 F.3d 872, 873-74 (8th Cir. 1998); Cox v. Norris,
133 F.3d 565, 569 (8th Cir. 1997); Tiedeman, 122 F.3d at 523. To make such a showing,
the issues must be debatable among reasonable jurists, a court could resolve the issues
differently, or the issues deserve further proceedings. Cox, 133 F.3d at 569 (citing Flieger
v. Delo, 16 F.3d 878, 882-83 (8th Cir. 1994)). See also Miller-El, 537 U.S. at 335-36
(reiterating standard).
       Courts reject constitutional claims either on the merits or on procedural grounds.
“‘[W]here a district court has rejected the constitutional claims on the merits, the showing
required to satisfy [28 U.S.C.] § 2253(c) is straightforward: the [defendant] must
demonstrate that reasonable jurists would find the district court’s assessment of the
constitutional claims debatable or wrong.’” Miller-El, 537 U.S. at 338 (quoting Slack v.
McDaniel, 529 U.S. 473, 484, 120 S. Ct. 1595, 146 L. Ed. 2d 542 (2000)). When a
federal habeas petition is dismissed on procedural grounds without reaching the underlying
constitutional claim, “the [defendant must show], at least, that jurists of reason would find
it debatable whether the petition states a valid claim of the denial of a constitutional right
and that jurists of reason would find it debatable whether the district court was correct in
its procedural ruling.” See Slack, 529 U.S. at 484.
       Having thoroughly reviewed the record in this case, the court finds the defendant
failed to make the requisite “substantial showing” with respect to the claims he raised in
his 28 U.S.C. § 2255 motion. See 28 U.S.C. § 2253(c)(2); Fed. R. App. P. 22(b).
Because he does not present a question of substance for appellate review, there is no
reason to grant a certificate of appealability. Accordingly, a certificate of appealability
shall be denied. If he desires further review of his 28 U.S.C. § 2255 motion, the
defendant may request issuance of the certificate of appealability by a circuit judge of the
Eighth Circuit Court of Appeals in accordance with Tiedeman, 122 F.3d at 520-22.

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   IT IS THEREFORE ORDERED:
   1) The defendant’s 28 U.S.C. § 2255 motion (Docket No. 122) is DENIED.
   2) The defendant’s application for appointment of counsel (Docket No. 121) is
   DENIED.
   3) A certificate of appealability is denied.
   DATED this 3rd day of November, 2005.




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